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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION

   The State of LOUISIANA,
   By and through its Attorney General,
   Elizabeth B. Murrill; et al.,           Civil Action No. 3:24-CV-00563-TAD-KDM

                         PLAINTIFFS,
                                           Chief Judge Terry A. Doughty
   v.                                      Magistrate Judge Kayla D. McClusky

   U.S. DEPARTMENT OF EDUCATION; et al.,

                        DEFENDANTS.



          MEMORANDUM IN SUPPORT OF MOTION FOR A POSTPONEMENT OR STAY UNDER
                      5 U.S.C. § 705 OR A PRELIMINARY INJUNCTION
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                                               INTRODUCTION

           By unilateral executive action, the U.S. Department of Education upended Title IX in a 423-

   page final rule that will transform the classrooms, lunchrooms, bathrooms, and locker rooms of

   American schools. See Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving Federal

   Financial Assistance, 89 Fed. Reg. 33,474 (Apr. 29, 2024) (to be codified at 34 C.F.R. pt. 106) (the

   “Rule”). This Rule is not just typical federal government overreach, but rather an Orwellian attempt

   to restructure our society, prohibit speech, chill the exercise of religious beliefs, and ultimately control

   our children’s thoughts on existential questions—and to coerce Plaintiffs and their institutions into

   being the federal government’s agents in those efforts.

           To promote equal opportunity for both sexes, Title IX prohibits entities that receive federal

   funding from discriminating on the basis of sex in their education programs. Title IX also promotes

   dignity and respect for both sexes by recognizing (as do longstanding regulations) that differentiation

   between the two sexes is sometimes necessary to promote equal opportunities, preserve privacy, and

   advance safety. The Rule guts it all. One of the Rule’s central features is to transform Title IX’s

   prohibition of discrimination based on “sex” to include discrimination based on “gender identity”—

   a term that itself is never defined in the Rule but that is described as a person’s subjective and internal

   “sense” of gender. And the Rule interferes with schools’ ability to verify a person’s self-professed

   “sense” that can be changed at will, including prohibiting schools from requiring documentation of a

   medical diagnosis that could confirm a person’s sincerity. Other key features of the Rule include

   redefining prohibited harassment to include protected speech and increasing Plaintiffs’ obligations,

   compliance costs, and liability risks in myriad ways.

           The consequences of the Rule’s rewrite of Title IX are extensive and shocking. To name just

   a few examples: Boys and girls will be forced to share bathrooms, locker rooms, and lodging on

   overnight field trips with members of the opposite sex, including adults. Teachers will be forced to
                                                          1
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   use whatever pronouns or “neopronouns” are demanded based on a student’s self-professed “gender

   identity” and must force students to do so as well. School boards (including Plaintiff School Boards)

   will be forced to revise policies, ensure schools are complying with the Rule, and undertake costly

   construction projects. All recipients of Title IX funding (including Plaintiffs) will be forced to face

   increased compliance costs and increased liability when they are inevitably sued by (1) Rule objectors

   (e.g., parents and students) for violating constitutional rights in an effort to comply with the Rule, and

   (2) Rule proponents for failing to adequately comply with the Rule’s impossible obligations. Finally,

   recipients (including Plaintiffs) who wish to resist the Rule will run into Defendants’ coercive power

   to withhold significant federal funding on which they rely.

           The Rule is unlawful across the board. It ignores the text, structure, and context of Title IX—

   not to mention departs from early and longstanding agency regulations—to advance Defendants’

   political and ideological agenda. Defendants have no authority, much less clear authority, to rewrite

   Title IX and decide major questions as the Rule does. The Rule also violates the Spending Clause, is

   an unconstitutional exercise of legislative power, and fails arbitrary-and-capricious review several times

   over. And to top it off, the Rule causes Plaintiffs immediate irreparable harm and will cause additional

   irreparable harm, including unrecoverable compliance costs, if this Court does not grant relief quickly.

   Therefore, Plaintiffs respectfully urge this Court to postpone the Rule’s effective date, stay the Rule,

   or issue a preliminary injunction, and request the Court to grant such relief by June 21, 2024.

                                              BACKGROUND
   I.      CONGRESS ENACTED TITLE IX TO PROMOTE EQUAL EDUCATIONAL OPPORTUNITIES
           FOR BOTH SEXES BY IMPOSING CONDITIONS ON FEDERAL FUNDING.

           Motivated by the “corrosive and unjustified discrimination against women” in “all facets of

   education—admissions, scholarship programs, faculty hiring and promotion, professional staffing,

   and pay scales,” 118 Cong. Rec. 5803 (Feb. 28, 1972) (Statement of Sen. Bayh)—Congress enacted

   Title IX of the Education Amendments “to avoid the use of federal resources to support [such]
                                               2
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   discriminatory practices,” Cannon v. University of Chicago, 441 U.S. 677, 704 (1979). To that end, Title

   IX provides that: “No person in the United States shall, on the basis of sex, be excluded from

   participation in, be denied the benefits of, or be subjected to discrimination under any education

   program or activity receiving Federal financial assistance [with statutory exceptions].” 20 U.S.C.

   § 1681(a). Title IX expressly allows a subset of institutions and programs receiving federal funds, such

   as traditional single-sex schools and certain religious schools, to remain limited to males or females.

   Id. § 1681(a)(3), (5). It also permits single-sex groups like sororities and fraternities, and it permits

   single-sex activities like “Boys State” and “Girls State” conferences and “father-son or mother-

   daughter activities at an educational institution” as long as “opportunities for reasonably comparable

   activities” are “provided for students of the other sex.” Id. § 1681(a)(6)-(7), (8).

           At the time of Title IX’s enactment, the term “sex” meant a person’s biological sex—male or

   female—which “is an immutable characteristic determined” at “birth.” Frontiero v. Richardson, 411 U.S.

   677, 686 (1973) (plurality op.); see, e.g., Sex, Webster’s Third New International Dictionary 2081 (1966) (“one

   of the two divisions of organic esp. human beings respectively designated male or female”); Sex,

   Webster’s New World Dictionary (1972) (“either of the two divisions, male or female, into which persons,

   animals, or plants are divided, with reference to their reproductive functions”); Sex, American Heritage

   Dictionary 1187 (1969) (“a. The property or quality by which organisms are classified according to their

   reproduction functions. b. Either of two divisions, designated male and female, of this classification.”). 1

   Title IX uses this ordinary meaning of “sex,” as reflected throughout its statutory provisions. See, e.g.,



   1
     During this same time period (and in the ensuing decades), gender could be used as a synonym for
   sex, see Sex, Webster’s Third New International Dictionary 944 (1966), including in Supreme Court opinions,
   see United States v. Virginia, 518 U.S. 515, 532–33 (1996) (using the terms “gender classifications” and
   “sex classifications” when referring to laws and policies that treat people differently depending on
   whether they are “women” or “men”); see also id. at 533 (discussing how “[i]nherent differences
   between men and women . . . remain cause for celebration, but not for denigration of the members
   of either sex or for artificial constraints on an individual’s opportunity” (quotations omitted)).
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   Neese v. Becerra, No. 2:21-cv-163-Z, 2022 WL 1265925, at *12 (N.D. Tex. Apr. 26, 2022) (“Title IX

   presumes sexual dimorphism in section after section, requiring equal treatment for each ‘sex.’ ”); 20

   U.S.C. §§ 1681(a)(2) (discussing institutions that were “changing from being an institution which

   admits only students of one sex to being an institution which admits students of both sexes”);

   1681(a)(8) (referring to “students of one sex” and “students of the other sex”). Title IX’s prohibition

   on sex discrimination in education programs and activities thus promotes equal educational

   opportunities—and dignity and respect for men and women—by generally prohibiting recipients of

   federal funds from discriminating against a person based on his or her biological sex.

           At the same time, Title IX recognizes the biological differences between men and women that

   occasionally demand differentiation between the two sexes to promote respect for both. Title IX

   instructs, for example, that “nothing contained herein shall be construed to prohibit” institutions

   receiving federal funds “from maintaining separate living facilities for the different sexes.” 20

   U.S.C. § 1686. This demonstrates the congressional understanding that separating the sexes “where

   personal privacy must be preserved” is not discrimination. See 118 Cong. Rec. 5807 (Feb. 28, 1972)

   (Statement of Sen. Birch Bayh) (explaining Title IX “permit[s] differential treatment by sex” when

   necessary, such as “in sport facilities or other instances where personal privacy must be preserved”).

   Title IX accordingly prohibits recipients of federal funds from discriminating on the basis of sex in

   their educational programs or activities and indicates that not all differential treatment based on sex

   constitutes such prohibited discrimination. See Jackson v. Birmingham Bd. of Educ., 544 U.S. 167, 174

   (2005) (“discrimination means ‘less favorable’ treatment”); Bostock v. Clayton County, 590 U.S. 644, 657

   (2020) (discriminating “would seem to mean treating that individual worse than others who are

   similarly situated”).




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   II.     LONGSTANDING REGULATIONS CONFIRMED THAT BIOLOGICAL DIFFERENCES
           OCCASIONALLY DEMAND DIFFERENTIATION BETWEEN THE TWO SEXES TO PROMOTE
           EQUAL OPPORTUNITIES AND RESPECT FOR BOTH UNDER TITLE IX.

           This understanding that Title IX generally prohibits discrimination based on biological sex and

   does not prohibit non-discriminatory differentiation that is necessitated by biological differences is

   confirmed in longstanding Title IX regulations—including ones published shortly after Title IX’s

   passage. In 1974, Congress enacted another statute requiring the publication of Title IX regulations,

   including “with respect to intercollegiate athletic activities reasonable provisions considering the

   nature of particular sports.” Pub. L. No. 93-380, Title VIII, Part D, § 844, 88 Stat. 612. The

   Department’s predecessor agency accordingly published Title IX regulations in 1975. See U.S. Dep’t

   of Health, Educ., & Welfare, Nondiscrimination on the Basis of Sex Under Federally Assisted Education

   Programs and Activities, 40 Fed. Reg. 24,128 (Jun. 4, 1975) (codified at 45 C.F.R. pt. 86) (the “1975

   Regulations”). The 1975 Regulations were subject to a statutory “laying before” provision, under

   which Congress could disapprove them by resolution within 45 days if it found them inconsistent with

   Title IX. See General Education Provisions Act, Pub. L. 93-380, 88 Stat. 567.

           During that time period for congressional review, “[r]esolutions of disapproval were

   introduced in both Houses of Congress.” N. Haven Bd. of Educ. v. Bell, 456 U.S. 512, 532 & n.32 (1982).

   One subcommittee “held six days of hearings to determine whether the [1975 Regulations] were

   ‘consistent with the law and with the intent of the Congress in enacting the law.’” Id. at 532. The

   resolutions failed, and the regulations went into effect. Id. at 533. Given the special congressional

   scrutiny that the 1975 Regulations endured, the Supreme Court has repeatedly “recognized the

   probative value” of the 1975 Regulations in light of “Title IX’s unique post enactment history.” Grove

   City Coll. v. Bell, 465 U.S. 555, 567 (1984). So too has the Department itself. See, e.g., Ex. 1 at 7–8.

           The 1975 Regulations emphasize key aspects of Title IX’s general prohibition on

   discrimination based on sex in education programs and activities. First, the 1975 Regulations further
                                                        5
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   demonstrate that sex discrimination means discrimination against someone based on his or her

   biological sex. 2 Second, the 1975 Regulations underscore that not all separation based on sex is

   prohibited discrimination, which is why, among other things, they permit funding recipients to

   “separate toilet, locker room, and shower facilities on the basis of sex” as long as “such facilities

   provided for students of one sex” are “comparable to such facilities provided for students of the other

   sex.” 40 Fed. Reg. at 24,141. 3 Third, the 1975 Regulations acknowledge that sometimes biological

   differences make differential treatment based on sex necessary to provide equal opportunities under

   Title IX. That is why, for example, the 1975 Regulations “requir[e] the use of standards for measuring

   skill . . . in physical education which do not impact adversely on members of one sex.” Id. at 24,132. 4

           The 1975 Regulations thus confirm what is plain in Title IX’s text and structure: Title IX

   promotes equal educational opportunities for both sexes while not overlooking biological differences

   or mandating identical treatment of males and females in all circumstances. And Title IX has been

   implemented accordingly for decades. See, e.g., U.S. Dep’t of Health, Educ., & Welfare, Title IX of the

   Education Amendments of 1972; a Policy Interpretation; Title IX and Intercollegiate Athletics, 44 Fed. Reg.

   71,413, 71,414 (Dec. 11, 1979) (“[A]thletic interests and abilities of male and female students must be

   equally effectively accommodated.”); id. (noting most institutions would need to develop “athletic


   2
    See, e.g., 40 Fed. Reg. at 24,132 (“women” and “men”); id. at 24,135 (“male and female teams”); id. at
   24,135 (contrasting payment rates between “one sex” and the “opposite sex”); id. at 24,134
   (prohibiting discrimination “against members of either sex”).
   3
    See, e.g., id. at 24,141 (allowing the “separation of students by sex within physical education classes or
   activities during participation in wrestling, boxing, rugby, ice hockey, football, basketball and other
   sports the purpose or major activity of which involves bodily contact”); id. (allowing “[p]ortions of
   classes in elementary and secondary schools which deal exclusively with human sexuality” to be
   “conducted in separate sessions for boys and girls”).
   4
    See id. at 24,132 (explaining this requirement is necessary because certain standards “may be virtually
   out-of-reach for many more women than men because of the difference in strength between the
   average person of each sex”); id. at 24,141 (“Where use of a single standard of measuring skill or
   progress in a physical education class has an adverse effect on members of one sex, the recipient shall
   use appropriate standards which do not have such effect.”).
                                                       6
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   programs that substantially expand opportunities for women to participate and compete at all levels”);

   id. at 71,415 (“Some aspects of athletic programs may not be equivalent for men and women because

   of unique aspects of particular sports or athletic activities.”); U.S. Dep’t of Educ., Establishment of Title

   and Chapters, 45 Fed. Reg. 30,802, 30,960 (May 9, 1980) (reissuing regulations, including those allowing

   “separate housing on the basis of sex” and “separate toilet, locker room, and shower facilities on the

   basis of sex”); id. at 30,962 (allowing sex-specific teams and requiring “equal athletic opportunity for

   members of both sexes”); Ex. 2 at 1 (“an education to all students, male and female, free of

   discrimination”). 5 This approach—mandated by the statutory text—has proven immensely successful

   as female college attendance and athletic participation have skyrocketed. See, e.g., Ex. 2; Adams v. Sch.

   Bd. of St. Johns Cnty., 57 F.4th 791, 818–19 (11th Cir. 2022) (en banc) (Lagoa, J., concurring).

   III.    FOR DECADES, TITLE IX HAS BEEN INTERPRETED AS PROHIBITING DISCRIMINATION
           BASED ON BIOLOGICAL SEX THAT BARS ACCESS TO EDUCATIONAL OPPORTUNITIES.

           In accordance with Title IX’s plain language and regulations, the Department, its predecessor

   agency, and courts interpreted Title IX for decades as prohibiting only discrimination based on

   biological sex. See, e.g., id. at 811, 815 (explaining Title IX’s “purpose, as derived from its text, is to

   prohibit sex discrimination in education” and “sex” “mean[s] ‘biological sex’ ”); Ex. 1 at 1 (describing

   “the Department’s longstanding construction of the term ‘sex’ in Title IX to mean biological sex”);

   Ex. 3 (“Title IX does not prohibit discrimination on the basis of sexual orientation”); cf. Wittmer v.

   Phillips 66 Co., 915 F.3d 328, 328–36 (5th Cir. 2019) (Ho, J. concurring) (“For four decades, it has been

   the uniform law of the land, affirmed in eleven circuits, that Title VII of the 1964 Civil Rights Act

   prohibits sex discrimination—not sexual orientation or transgender discrimination.”). In interpreting



   5
     See also Williams v. Sch. Dist. of Bethlehem, 998 F.2d 168, 175 (3d Cir. 1993) (explaining “ ‘[a]thletic
   opportunities’ means real opportunities, not illusory ones,” which is why school districts make the
   effort “to equalize the numbers of sports teams offered for boys and girls” as opposed to only allowing
   “girls to try out for the boys’ teams”).
                                                        7
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   statutes that prohibit sex discrimination, courts recognized that evidence of sexual harassment or

   mistreatment based on sex-related characteristics, such as failure to conform to sex stereotypes, could

   be used to prove discrimination based on biological sex. See, e.g., Franklin v. Gwinnett Cnty. Pub. Sch.,

   503 U.S. 60, 75 (1992); Chisholm v. St. Mary’s City Sch. Dist. Bd. of Educ., 947 F.3d 342, 350–52 (6th Cir.

   2020). But courts recognized that the relevant statutory inquiry remained whether “the conduct at

   issue . . . actually constituted ‘discrimina[tion] . . . because of sex,’ ” Oncale v. Sundowner Offshore Servs., Inc.,

   523 U.S. 75, 81 (1998), or “on the basis of sex,” 20 U.S.C. § 1681(a). 6

            Moreover, in the Title IX context, courts recognized that not all harassing behavior based on

   sex violates the statute. When it comes to student-on-student sexual harassment, the Supreme Court

   concluded that harassment must be “so severe, pervasive, and objectively offensive that it effectively

   bars the victim’s access to an educational opportunity or benefit” to constitute discrimination. Davis

   v. Monroe Cnty. Bd. of Educ., 526 U.S. 629, 633 (1999). The Court explained that Title IX’s “provision

   that the discrimination occur ‘under any education program or activity’ suggests that the behavior be

   serious enough to have the systemic effect of denying the victim equal access to an educational

   program or activity,” and the Court further noted that teasing and offensive names that cause a student

   to skip school would not qualify. Id. at 651–52; see id. at 653 (emphasizing that the harassment at issue

   “was not only verbal,” but also “included numerous acts of objectively offensive touching” that led

   to a conviction for “criminal sexual misconduct”); id. at 667 (Kennedy, J., dissenting) (noting that



   6
     See, e.g., Price Waterhouse v. Hopkins, 490 U.S. 228, 251 (1989) (“In making this showing, stereotyped
   remarks can certainly be evidence that gender played a part.”); Bostock, 590 U.S. at 699 (Alito, J.,
   dissenting) (explaining Title VII does not “forbid[ ] discrimination based on sex stereotypes,” but
   “discrimination based on sex stereotypes” is “relevant to prove discrimination because of sex,”
   especially where a trait “would be tolerated and perhaps even valued in a person of the opposite sex”);
   Chisholm, 947 F.3d at 350–52 (reasoning that “an offensive, gendered insult,” even if intended to be
   “an assault on their masculinity,” was not sex discrimination where “targeted to a fundamental
   requirement for football players—toughness”—that the coach would presumably demand of any
   female player).
                                                         8
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   attempts to curb allegedly harassing speech could violate the First Amendment).

           The Department subsequently issued regulations adopting the Davis formulation of sexual

   harassment for “purely verbal harassment” to address First Amendment concerns. U.S. Dep’t of

   Educ., Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving Federal Financial

   Assistance, 85 Fed. Reg. 30,026, 30,142 (May 19, 2020). Under current regulations (that the challenged

   Rule will replace) verbal harassment can constitute discrimination under Title IX only when it is “so

   severe, pervasive, and objectively offensive that it effectively denies a person equal access to the

   recipient’s education program or activity.” 34 C.F.R. § 106.30(a)(2).

   IV.     THE FINAL RULE TRANSFORMS AND SUBVERTS TITLE IX.

           On April 29, 2024, the Department published the Final Rule, which redefines “sex” in Title

   IX to embrace “gender identity” (and other concepts that are distinct from sex) and expands the

   definition of harassment to include protected speech. See 89 Fed. Reg. at 33,884, 33,886. Citing its

   “authority to issue rules effectuating [Title IX’s] prohibition on sex discrimination consistent with the

   objectives of the statute,” id. at 33,476, the Rule proceeds to upend the entire Title IX framework.

           Although 20 U.S.C. § 1681 prohibits Title IX funding recipients from subjecting a person “to

   discrimination under any education program or activity” based on “sex,” the Rule expands Title IX to

   include “discrimination on the basis of sex stereotypes, sex characteristics, pregnancy or related

   conditions, sexual orientation and gender identity.” Id. at 33,476. The Department refuses to define

   “sex” or “gender identity,” id. at 33,802, notwithstanding its claimed “expertise on what constitutes

   sex discrimination,” id. at 33,815. However, the Department does say it “understands” “gender

   identity” to mean “an individual’s sense of their gender, which may or may not be different from their

   sex assigned at birth.” Id. at 33,809.

           Despite this acknowledgement that “sex” and “gender identity” are different, the Rule largely

   requires recipients to treat “sex” and “gender identity” as synonymous. The Rule provides:
                                                        9
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           In the limited circumstances in which Title IX or this part permits different treatment
           or separation on the basis of sex, a recipient must not carry out such different
           treatment or separation in a manner that discriminates on the basis of sex by subjecting
           a person to more than de minimis harm, except as permitted by 20 U.S.C. 1681(a)(1)
           through (9) and the corresponding regulations §§ 106.12 through 106.15, 20 U.S.C.
           1686 and its corresponding regulation § 106.32(b)(1), or § 106.41(b). Adopting a policy
           or engaging in a practice that prevents a person from participating in an education
           program or activity consistent with the person’s gender identity subjects a person to
           more than de minimis harm on the basis of sex.

   Id. at 33,887. In short, this means that any person’s claimed gender identity must generally be treated

   as if it were his or her sex. 7 For example, the Rule mandates that recipients allow persons to use

   whichever single-sex bathroom or locker room corresponds with their claimed gender identity at that

   particular time. 8 And the Rule warns that recipients cannot impose documentation requirements, such

   as evidence of a valid gender-dysphoria diagnosis, before allowing a male claiming a female gender

   identity to use a girls’ bathroom or locker room. 9

           The Rule’s general mandate that a person must be treated consistently with whatever gender

   identity he or she claims extends to speech. When a person claims a gender identity that differs from

   biological sex, recipients must compel staff and students to use whatever pronouns are demanded by

   that person. 10 That is because the Rule defines prohibited discrimination to include harassment based


   7
     See id. at 33,816 (applying the de minimis standard to “any ‘person,’ including students, employees,
   applicants for admission or employment, and . . . could include parents of minor students, students
   from other institutions participating in events on a recipient’s campus, visiting lecturers, or other
   community members whom the recipient invites to campus”).
   8
     See id. at 33,818 (“[A] recipient must provide access to sex-separate facilities, including bathrooms,
   in a manner that does not cause more than de minimis harm.”); id. (“[S]tudents experience sex-based
   harm that violates Title IX when a recipient bars them from accessing sex-separate facilities or
   activities consistent with their gender identity.”).
   9
    See id. at 33,819 (“[R]equiring a student to submit to invasive medical inquiries or burdensome
   documentation requirements to participate in a recipient’s education program or activity consistent
   with their gender identity imposes more than de minimis harm.”).
   10
     See, e.g., id. at 33,516 (noting that “verbal . . . hostility based on the student’s . . . gender identity” can
   be impermissible discrimination); id. (citing U.S. Equal Emp. Opportunity Comm’n, Sexual Orientation
   and Gender Identity (SOGI) Discrimination, (last accessed May 1, 2024), https://tinyurl.com/mrxmwtsf

                                                          10
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   on any of the “bases described in § 106.10,” id. at 33,884—that is, “sex stereotypes, sex characteristics,

   pregnancy or related conditions, sexual orientation, and gender identity,” id. at 33,886—and to include

   creation of a “hostile environment,” id. at 33,884. The Rule then adopts an expansive definition of

   “[h]ostile environment harassment” as “[u]nwelcome sex-based conduct that . . . is subjectively and

   objectively offensive and is so severe or pervasive that it limits or denies a person’s ability to participate

   in or benefit from the recipient’s education program or activity.” Id. The Department’s new “severe

   or pervasive” standard would require recipients to monitor and censor speech on myriad topics to

   avoid creating a hostile environment, 11 including speech expressing views critical of the concept of

   “gender identity” and even speech occurring outside of the recipients’ education programs or outside of

   the United States that could allegedly contribute to a hostile environment. See id. at 33,516, 33,530.

           The Rule states it is not changing the current regulations regarding athletics (until a separate,

   currently pending proposed rule is finalized), and that its prohibition on “prevent[ing] a person from

   participating . . . consistent with the person’s gender identity” does not apply in the context of

   athletics. See id. at 33,817, 33,887. But the Rule interprets the term “sex” in Title IX to include “gender

   identity,” see id. at 33,886, so the Department (and male athletes who are self-professed females) will

   inevitably argue, consistent with the Rule’s interpretation of Title IX, that the current regulations

   prohibit recipients from having a categorical ban on boys (including boys claiming to have a female

   gender identity) playing on girls’ teams, see Ex. 5 (reflecting the Administration’s current litigating

   position).



   (“SOGI Guidance”)); SOGI Guidance (“[I]ntentionally and repeatedly using the wrong name and
   pronouns to refer to a transgender employee could contribute to an unlawful hostile work
   environment.”) (attached as Ex. 4).
   11
      See, e.g., id. at 33,514, 33,516 (refusing to use pronouns based on self-professed gender identity,
   derogatory comments about gender identity or pregnancy, or multiple students calling someone “girly”
   could “create a hostile environment”); id. at 33,570 (“academic discourse of students or teachers
   generally would not meet this standard”) (emphasis added).
                                                        11
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                                                ARGUMENT

           Plaintiffs seek a postponement of the Rule’s effective date or stay of the Rule under 5 U.S.C.

   § 705 or, in the alternative, a preliminary injunction under Federal Rule of Civil Procedure 65. The

   Administrative Procedure Act authorizes courts to “issue all necessary and appropriate process . . . to

   preserve status or rights pending [judicial review].” 5 U.S.C. § 705. This includes the power to

   “suspend administrative alteration of the status quo.” Wages & White Lion Invs. L.L.C. v. FDA, 16 F.4th

   1130, 1144 (5th Cir. 2021) (quoting Nken v. Holder, 556 U.S. 418, 430 n.1 (2009)); see also, e.g., Texas v.

   EPA, 829 F.3d 405, 411, 435 (5th Cir. 2016). In deciding whether to grant relief under § 705 or a

   preliminary injunction, courts apply the same basic factors. See Texas, 829 F.3d at 405, 424–36

   (applying the Nken factors when staying an agency’s action under § 705); see also Voting for Am., Inc. v.

   Andrade, 488 F. App’x 890, 893 (5th Cir. 2012) (per curiam). Those factors are (1) plaintiffs’ likelihood

   of success on the merits; (2) the threat of irreparable harm absent relief; (3) whether relief “will

   substantially injure the other parties”; and (4) the public interest. Texas, 829 F.3d at 424.

   I.      PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR CLAIMS.

           A.      The Rule Is Contrary to Law and Exceeds Statutory Authority.

           Because the Rule is contrary to Title IX’s text and structure and Defendants have no statutory

   authority to subvert Title IX or decide major questions, Plaintiffs are likely to succeed in showing that

   the Rule is “not in accordance with law” and exceeds statutory authority. 5 U.S.C. § 706(2)(A), (C).

           1. The Rule’s interpretation of “sex” and its requirement that recipients treat self-
              professed “gender identity” as if it were biological sex flouts Title IX.

           The Department does not have the authority to “rewrite clear statutory terms , ” much less

   rewrite terms in a way that undercuts a statute’s purpose. Util. Air Regulatory Grp. v. EPA, 573 U.S.

   302, 328 (2014). Yet that is exactly what the Rule does by interpreting “sex” in Title IX to embrace

   “gender identity” and other concepts that are distinct from biological sex when the term “sex” in Title

   IX means biological sex. The Rule is therefore contrary to law and exceeds statutory authority.
                                                    12
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           Title IX provides:

           No person in the United States shall, on the basis of sex, be excluded from
           participation in, be denied the benefits of, or be subjected to discrimination under any
           education program or activity receiving Federal financial assistance [with statutory
           exceptions].

   20 U.S.C. § 1681(a). This prohibition on sex discrimination means recipients generally cannot

   discriminate based on someone’s biological sex; it does not prohibit discrimination based on “gender

   identity” or other grounds. And where Title IX allows differentiation based on sex due to biological

   differences, such as for bathrooms, locker rooms, and sports teams, recipients may treat persons in

   accordance with their biological sex without regard to their self-professed gender identity. The Rule’s

   requirement that recipients consider gender identity and treat people consistent with their self-

   professed gender identity (in most contexts) is thus at odds with Title IX.

           When construing a statute, a court’s “job is to interpret the words consistent with their

   ‘ordinary meaning’ . . . at the time Congress enacted the statute.” Wis. Cent. Ltd. v. United States, 585

   U.S. 274, 277 (2018) (quoting Perrin v. United States, 444 U.S. 37, 42 (1979)). That means “look[ing] to

   dictionary definitions for help in discerning a word’s ordinary meaning,” Cascabel Cattle Co., L.L.C. v.

   United States, 955 F.3d 445, 451 (5th Cir. 2020), and reading the word in context, “not in isolation,”

   Sw. Airlines Co. v. Saxon, 596 U.S. 450, 455 (2022).

           Contemporary dictionaries show “sex” had an unambiguous meaning in 1972 and referred to

   a person’s biological sex as a male or a female. See supra p. 3; e.g., Adams, 57 F.4th at 812 (“Reputable

   dictionary definitions of ‘sex’ from the time of Title IX’s enactment show that when Congress

   prohibited discrimination on the basis of ‘sex’ in education, it meant biological sex, i.e., discrimination

   between males and females.”). And this ordinary meaning is further confirmed by following the

   “cardinal rule” of reading the statute “as a whole.” King v. St. Vincent’s Hosp., 502 U.S. 215, 221 (1991).

   The statute indicates that “sex” means biological sex and refers to the two divisions of male or female.


                                                       13
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   See 20 U.S.C. §§ 1681(a)(2) (referring to “one sex” and “both sexes”); 1681(a)(8) (referring to “father-

   son or mother-daughter activities,” “one sex,” and “the other sex”). Moreover, the statute refers to

   “sexual orientation” and “gender identity” not as “sex” but as a separate “status.” See id. § 1689(a)(6)

   (directing that a sexual-violence task force be established and “develop recommendations on . . .

   inclusive approaches to supporting survivors, which include consideration of . . . lesbian, gay, bisexual,

   or transgender (commonly referred to as ‘LGBT’) status”).

           Furthermore, longstanding regulations—including regulations adopted soon after Title IX’s

   enactment and with congressional approval—have consistently interpreted “sex” in Title IX to mean

   biological sex. See, e.g., 40 Fed. Reg. at 24,132 (“either sex”); id. at 24,135 (“male and female”); id.

   (referring to “one sex” and “the opposite sex”); 34 C.F.R. §§ 106.33 (referring to “one sex” and “the

   other sex”); id. 106.41(c) (referring to “both sexes” and “male and female teams”). This is additional

   “powerful evidence” of the “original public meaning” of Title IX. Kisor v. Wilkie, 139 S. Ct. 2400, 2426

   (2019) (Gorsuch, J., concurring) (emphasis omitted). So too is the fact that adopting a more expansive

   definition of “sex” renders other provisions of IX meaningless. See City of Chicago v. Fulton, 592 U.S.

   154, 159 (2021) (“The canon against surplusage is strongest when an interpretation would render

   superfluous another part of the same statutory scheme.”). After all, if a recipient must treat a man who

   claims a female gender identity as a woman, then that man must be allowed to live in women’s

   dormitories, which would render Title IX’s provision allowing for sex-specific dormitories

   meaningless. See Adams, 57 F.4th at 813 (discussing § 1686). Defendants try to avoid this problem by

   making dormitories an exception to the Rule’s requirement that persons must be treated according to

   their gender identity; however, this inconsistency demonstrates the Rule’s interpretation of “sex” is

   untenable. See id. at 817. Defendants cannot overcome the presumption that “sex” means “the same

   thing throughout [the] statute.” Brown v. Gardner, 513 U.S. 115, 118 (1994). If “sex” in § 1686 means

   biological sex, then the general prohibition on sex discrimination in § 1681 means only discrimination
                                                      14
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   based on biological sex is prohibited under Title IX. And adverse treatment based on other grounds

   is not necessarily discrimination because of biological sex (even though it can be evidence that

   prohibited sex discrimination occurred). See supra p. 8; see also 89 Fed. Reg. at 33,811 (“[N]ot all conduct

   one might label ‘sex stereotyping’ necessarily violates Title IX.”).

           The Rule’s contrary claim that discrimination based on “sexual orientation or gender identity

   . . . always demands consideration of sex” is wrong. 89 Fed. Reg. at 33,807. For example, a religious

   student group would not be considering sex at all if it excluded students who are bisexual or students

   who claim a nonbinary 12 gender identity from membership. And that is not contrary to Bostock, which

   simply held that firing a male employee for being homosexual or transgender is sex discrimination,

   because the employer fired that employee because of “traits or actions” (being attracted to men or

   presenting as a woman) that the employer tolerates in female employees. 590 U.S. at 660–61; see id. at

   660 (explaining “Title VII stands silent” if an employer fires a woman for traits that it also “would not

   have tolerated” in a man). 13 Indeed, the Bostock Court assumed “sex” in Title VII meant “biological

   distinctions between male and female” and agreed that “homosexuality and transgender status are

   distinct concepts from sex.” Id. at 655, 669. The Rule’s rewrite of Title IX therefore cannot be justified

   by Bostock even if it applies.

           In any event, Bostock does not apply. The Supreme Court not only expressly limited its opinion

   to Title VII, but it also refused to even “prejudge” whether sex-specific bathrooms were permissible


   12
     See Ex. 6 at S80 (“The term nonbinary includes people whose genders are comprised of more than
   one gender identity simultaneously or at different times (e.g., bigender), who do not have a gender
   identity or have a neutral gender identity (e.g., agender or neutrois), have gender identities that
   encompass or blend elements of other genders (e.g., polygender, demiboy, demigirl), and/or who have
   a gender that changes over time (e.g., genderfluid).”); id. (“Nonbinary also functions as a gender
   identity in its own right.”); id. at S88 (explaining some people identify as “eunuchs” and view it as a
   “distinct gender identity”).

    Regardless, it is not sex discrimination for religious groups to decline membership to those who
   13

   maintain beliefs and practices inconsistent with the group’s tenets. And Bostock does not say otherwise.
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   under Title VII. Id. at 681; see Pelcha v. MW Bancorp, Inc., 988 F.3d 318, 324 (6th Cir. 2021) (explaining

   “the rule in Bostock extends no further than Title VII”). Moreover, “Title VII differs from Title IX in

   important respects,” Meriwether v. Hartop, 992 F.3d 492, 510 n.4 (6th Cir. 2021), and the workplace

   differs from the educational context. Plaintiffs will therefore likely succeed on their claim that the Rule

   conflicts with Title IX.

           2. The Rule’s harassment standard that turns recipients into federal-commandeered
              censors is contrary to Title IX and violates the First Amendment.

           The Rule is also contrary to law because its harassment standard is unmoored from Title IX

   and would require recipients to violate First Amendment rights. Harassment becomes discrimination

   “ ‘under’ the recipient’s programs” in § 1681 only when it “is so severe, pervasive, and objectively

   offensive that it effectively bars the victim’s access to an educational opportunity or benefit” and when

   “the recipient exercises substantial control over both the harasser and the context.” Davis, 526 U.S. at

   633, 645 (emphasis added); see Meriwether, 992 F.3d at 511. The Rule’s new broad “severe or pervasive”

   standard, which considers speech or other expressive conduct that “limits” a person’s ability to

   participate in a program to be discriminatory harassment, thus cannot be squared with Title IX. 89

   Fed. Reg. at 33,884. Nor can the Rule’s requirement that a recipient consider conduct that occurred

   outside of its program or outside of the United States in determining whether a hostile environment has

   been created in its education program and activity. Id. at 33,530.

           Moreover, the Rule’s harassment standard (particularly when combined with its expansion of

   “sex” to include other concepts) chills and punishes protected speech—an effect that is amplified by

   the requirement that teachers report any speech that could be considered harassment and that

   recipients must respond to what may be prohibited harassment. See 89 Fed. Reg. at 33,563, 33,888.




                                                       16
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   The Rule would compel staff and students to use whatever pronouns a person demands 14—even when

   those pronouns are grammatically incorrect and express a viewpoint with which the speaker

   disagrees—and prohibits students from expressing their views, including their religious views, on

   numerous topics. See, e.g., 89 Fed. Reg. 33,514–16, 33,570; Ex. 4.

           The Rule therefore conflicts with the “fixed star in our constitutional constellation” that the

   government cannot “prescribe what shall be orthodox” or “force citizens to confess by word or act

   their faith therein,” W. Virginia State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943), and “may not

   prohibit the expression of an idea simply because society finds the idea itself offensive or

   disagreeable,” Texas v. Johnson, 491 U.S. 397, 414 (1989). Indeed, courts have disapproved of similar

   attempts to police speech under the guise of preventing discrimination, finding that expansive

   harassment policies violate Free Speech and Free Exercise rights. See, e.g., Speech First, Inc. v. Cartwright,

   32 F.4th 1110, 1125–27 (11th Cir. 2022) (concluding harassment policy is likely both “impermissibly

   overbroad” and “a content- and viewpoint-based restriction of speech”); id. at 1129–30 (Marcus, J.,

   concurring) (explaining that treating unpopular ideas that offend people as prohibited harassment “is

   plainly at odds with the First Amendment and our notion of free speech”); Meriwether, 992 F.3d at 498,

   512 (holding that requiring a professor to use students “preferred pronoun[s]” violated his free-speech

   rights and the Free Exercise Clause); cf. Perlot v. Green, 609 F. Supp. 3d 1106, 1118–21 (D. Idaho).

   Accordingly, even if Title IX’s “provisions could mean what the Government says they mean,” the

   Court must construe those provisions more narrowly “because to do otherwise would raise grave

   constitutional concerns.” Mexican Gulf Fishing Co. v. U.S. Dep’t of Comm., 60 F.4th 956, 966 (5th Cir.



   14
     See United States v. Varner, 948 F.3d 250, 256–57 (5th Cir. 2020) (recognizing that gender dysphoric
   people claim gender identities other than male or female and use pronouns such as (f)ae, e/ey, per,
   they, ve, xe, or ze/zie); Ex. 6 at S80 (giving examples of neopronouns that may be used “e/em/eir,
   ze/zir/hir, er/ers/erself among others”); Ex. 7 (explaining neopronouns are less common pronouns
   and providing examples while noting the options are “limitless”).
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   2023); see Speech First, Inc. v. Fenves, 979 F.3d 319, 337 n.16 (5th Cir. 2020) (noting that the Supreme

   Court has not decided whether allowing “purely verbal harassment claims” is constitutional and that

   it “seems self-evidently dubious”). This is yet another reason to conclude the Rule is contrary to law.

           3. Defendants have no authority to rewrite Title IX and decide major questions.

           The Rule exceeds statutory authority under 5 U.S.C. § 706(2)(C), because the Department has

   no authority—much less clear authority—to issue regulations that subvert Title IX or require

   recipients to violate constitutional rights as the Rule does. See supra pp. 12–18, Am. Compl. at 27–28.

   The Department, as an administrative agency, is a “creature[ ] of statute,” and “possess[es] only the

   authority that Congress has provided.” Nat’l Fed’n of Indep. Bus. v. OSHA, 595 U.S. 109, 117 (2022). It

   is a “core administrative-law principle that an agency may not rewrite clear statutory terms to suit its

   own sense of how the statute should operate.” Util. Air Regulatory Grp., 573 U.S. at 328. Because

   Congress provided authority only to implement Title IX in § 1682, not to rewrite it and render

   statutory provisions meaningless, the Department exceeded its authority in issuing the Rule.

           This lack of statutory authority is especially egregious here, because the Rule decides major

   questions—such as whether to force schools, administrators, teachers, and students to treat someone’s

   self-professed, unverifiable, potentially ever-changing gender identity as akin to biological sex—that

   must be decided by “Congress itself” or, at the very least, by “an agency acting pursuant to a clear

   delegation from that representative body.” West Virginia v. EPA, 597 U.S. 697, 735 (2022). The Rule

   answers major questions that belong to Congress or require a clear authorization for at least four

   reasons. First, the Rule has enormous social and political significance. See id. at 721. How to address

   and treat people claiming a gender identity that differs from their biological sex has prompted state

   legislation and sparked numerous nationwide and international controversies. See Exs. 8–11; infra p.26.

   Second, the Rule has significant economic consequences. It threatens millions of dollars of funding for

   Plaintiff School Boards and billions of dollars of funding for Plaintiff States, e.g., Exs. 12–13, not to
                                                      18
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   mention imposes enormous compliance costs on Plaintiff School Boards that will need to modify

   their schools’ facilities. 15 Third, the Rule is “novel” and “transformative,” and Congress “has

   consistently rejected proposals” to expand Title IX to prohibit discrimination based on sexual

   orientation and gender identity. West Virginia, 597 U.S. 716, 724, 731–32; see, e.g., Equality Act, H.R. 5,

   117 Cong. § 9(2) (2021); Title IX Take Responsibility Act of 2021, H.R. 5396, 117 Cong. (2021); see

   also Ex. 25 (touting the proposed rule as “historic”). Fourth, the Rule intrudes on education, which is

   an area “where States historically have been sovereign,” United States v. Lopez, 514 U.S. 549, 564 (1995),

   implicating not only the major questions doctrine, but also the federalism canon, see West Virginia, 597

   U.S. at 744 (Gorsuch, J., concurring). The Department’s inability to point to any statutory authority

   for the transformative Rule, much less clear authority, is therefore fatal to the Rule’s validity.

           B.      The Rule’s Conditions Violate the Spending Clause.

           In addition, the Rule (and Title IX, assuming, arguendo, the Rule is a permissible

   interpretation of it) violates Spending Clause limits. Title IX was passed under Congress’s power to

   impose conditions on federal funds under the Spending Clause, Davis, 526 U.S. at 640, and that

   “power is of course not unlimited, but is instead subject to several general restrictions,” South Dakota

   v. Dole, 483 U.S. 203, 207 (1987). These restrictions include requirements that: (1) conditions must

   be “unambiguous[ ]” so States can “exercise their choice knowingly, cognizant of the consequences




   15
      See Ex. 14 at 7 (explaining cost to “redesign restrooms and showers on 11 campuses” would “be
   significant”); Ex. 15 at 7–8 (estimating it would cost approximately $1.2 million to construct or
   renovate gender-neutral facilities, plus the cost of renting portable toilets); Ex. 16 at 7–8 (describing
   costs as “astronomical”); Ex. 17 at 7 (estimating costs exceeding $2.1 million); Ex. 18 at 8 (describing
   costs as “significant”); Ex. 19 at 8 (“substantial expense to our district”); Ex. 20 at 7–8 (estimating it
   would cost between $20.3 million to $27.7 million to renovate or construct new facilities); Ex. 21 at 8
   (describing construction process as “lengthy and costly”); Ex. 22 at 8 (estimating it would “cost[ ]
   hundreds of millions of dollars”); Ex. 23 at 7 (describing construction projects as “expensive”); see also
   Ex. 24 (describing a pilot program to build new bathrooms to accommodate transgender and
   nonbinary students at five schools in Loudoun County, Virginia will cost $11 million and noting it
   could cost over $211.2 million if the program was expanded to each school in the district).
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   of their participation,” (2) conditions must be related to the “federal interest in the project,”

   (3) spending must not “induce the States to engage in activities that would themselves be

   unconstitutional,” and (4) spending must not “be so coercive as to pass the point at which ‘pressure

   turns into compulsion.’ ” Id. at 207–11. Each requirement is “equally important” and must be

   “equally” satisfied for a spending condition to be constitutional. West Virginia v. Dep’t of Treasury, 59

   F.4th 1124, 1142 (11th Cir. 2023).

          The Rule’s conditions flunk these four requirements. First, the Rule imposes conditions that

   are not “unambiguously” clear. Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17 (1981).

   Plaintiffs did not “voluntarily and knowingly” agree to police and punish speech; ignore the

   difference between biological sex and self-professed gender identity; abolish sex-specific bathrooms,

   locker rooms, rooming assignments, and sports; or violate staff and students’ constitutional rights

   in exchange for federal funds under Title IX. NFIB v. Sebelius, 567 U.S. 519, 577 (2012); see Adams,

   57 F.4th at 816 (“The notion that the School Board could or should have been on notice that its

   policy of separating male and female bathrooms violates Title IX and its precepts is untenable.”).

   Moreover, the Department cannot usurp Congress’s spending power by imposing conditions that

   are unauthorized by the statutory text, see Tex. Educ. Agency v. U.S. Dep’t of Educ., 992 F.3d 350, 362

   (5th Cir. 2021), and even if it could, the Rule’s conditions are still not unambiguously clear as the

   Department refuses to answer multiple questions about how the Rule will apply, see, e.g., 89 Fed. Reg.

   at 33,821–22 (failing to answer questions, including “whether it would be a potential violation of

   Title IX for a recipient to treat a student according to their sex assigned at birth if requested by the

   parents to do so”). Second, the Rule’s conditions are contrary to the federal interest in promoting

   equal opportunities to both sexes, because it will deprive women of opportunities, see Adams, 57

   F.4th at 819–21; Ex. 26 at 11–13, and increase the risk of sexual assault, Ex. 26 at 9–11; Ex. 27.

   Third, the Rule will impermissibly induce recipients “to engage in activities that would themselves be
                                                      20
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   unconstitutional,” Dole, 483 U.S. at 210, including infringing on Free Speech, Free Exercise, Due

   Process, and parental rights. See, e.g., supra pp. 16–18, Am. Compl. at 27–28; Ex. 26 at 6–7; Exs. 28–

   30. Fourth, the “threatened loss” of a significant percentage of Plaintiffs’ education funding “is

   economic dragooning that leaves the States with no real option but to acquiesce,” Sebelius, 567 U.S.

   at 582, especially when even offering federal financial aid to college students triggers Title IX.

   Plaintiffs are thus likely to succeed on their Spending Clause claim as well.

          C.       The Rule Is an Unconstitutional Exercise of Legislative Power.

          If Congress delegated the authority to issue the Rule—which it did not—the delegation

   violates Article I and separation-of-powers principles. As described above, the Rule embodies major

   policy decisions, including interpreting “sex” to include a person’s self-professed gender identity,

   abolishing sex-specific facilities, and treating girls and women as similarly situated to males who

   claim to be females. Such major policy decisions that go to fundamental beliefs about our humanity

   and will restructure our society are “the very essence of legislative authority under our system” and

   “must be made by the elected representatives of the people.” Indus. Union Dep’t, AFL-CIO v. API,

   448 U.S. 607, 687 (1980) (Rehnquist, J., concurring); see Paul v. United States, 140 S. Ct. 342, 342 (2019)

   (Kavanaugh, J., statement regarding denial of certiorari) (indicating “congressional delegations . . .

   to decide major policy questions” may be impermissible); see also Ilan Wurman, Nondelegation at the

   Founding, 130 Yale L. J. 1490, 1502-03, 1538, 1554 (2021). At the very least, Congress must have

   provided “an intelligible principle” so it can be said that “the agency exercises only executive power.”

   Jarkesy v. SEC, 34 F.4th 446, 461 (5th Cir. 2022), cert. granted, 143 S. Ct. 2688 (2023). If the Rule,

   which subverts the purpose of Title IX and destroys the consistency of the statutory scheme, is

   authorized by statute, then there was no true intelligible principle guiding the Department’s

   discretion. The Rule is therefore an impermissible exercise of legislative power.



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          D.       The Rule Is Arbitrary and Capricious.

          The Rule is also arbitrary and capricious under 5 U.S.C. § 706(2)(A). That is because, although

   deferential, arbitrary-and-capricious review “has ‘serious bite.’ ” Louisiana v. DOE, 90 F.4th 461, 470

   (5th Cir. 2024). It “requires that agency action be reasonable and reasonably explained,” meaning

   that the agency “has reasonably considered the relevant issues and reasonably explained the

   decision.” Wages & White Lion, 16 F.4th at 1136 (quotations omitted). “[B]are acknowledgement” of

   concerns and “conclusory statements” are “no substitute for reasoned consideration.” Louisiana, 90

   F.4th at 473. And when an agency changes its position, the agency must “recognize[ ] the change,

   reason[ ] through it without factual or legal error, and balance[ ] all relevant interests affected by the

   change,” id. at 469, including reliance interests on the longstanding prior policy, Wages & White Lion,

   16 F.4th at 1139.

          The Rule fails arbitrary-and-capricious review several times over. See Am. Compl. at 46–50.

   For starters, the Department failed to adequately consider important aspects of the problem. In

   response to concerns the Rule would undermine a recipient’s “legitimate interest” in protecting

   students’ privacy and safety, the Department simply stated it “disagree[s]” the Rule would undermine

   that interest. 89 Fed. Reg. at 33,820. And the Department responded the same way to “evidence that

   transgender students pose a safety risk” in girls-only spaces; again, it simply stated it “does not agree.”

   Id. The Rule is unreasonable for dismissing commenters’ safety and privacy concerns out of hand,

   see, e.g., Ex. 26 at 8–11, Ex. 27, especially when it does not take any steps to mitigate the concerns.

   Instead, the Rule allows any male, including “other community members,” who claims a female

   gender identity to use girls-only bathrooms and locker rooms without providing any method for

   recipients to verify the sincerity of a claimed gender identity or to prevent sexual predators from

   entering girls-only bathrooms and locker rooms. See 89 Fed. Reg. at 33,809, 33,816, 33,819.

          The Department similarly failed to consider and address concerns that the Rule violates
                                                       22
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   parents’ right to direct the upbringing of their children. See, e.g., Ex. 28 at 5; Ex. 30. The Department

   merely paid lip service to parental rights, failed to articulate its view regarding the scope of those

   rights, and refused to answer basic questions like whether “a recipient should comply with a request

   by a minor student to change their name or pronouns used at school if their parent opposes the

   change.” 89 Fed. Reg. at 33,821–22. Accordingly, the Rule is full of the type of “bare

   acknowledgement[s]” and “conclusory statements” that “do not constitute adequate agency

   consideration of an important aspect of a problem.” Louisiana, 90 F.4th at 473.

          Moreover, the Rule’s pretense of leaving the current Title IX athletics regulations

   undisturbed until a separate proposed rule is finalized further demonstrates the Rule is arbitrary and

   capricious. Although Defendants except athletic teams from the general rule that “preventing a

   person from participating in an . . . activity consistent with the person’s gender identity subjects a

   person to more than de minimis harm on the basis of sex,” 89 Fed. Reg. at 33,817, 33,887, the Rule’s

   interpretation of sex discrimination to include discrimination based on “gender identity” still applies,

   id. at 33,886, which will impact the continued viability of sex-specific teams. As will the requirement

   that persons be allowed to use whatever locker room corresponds to their self-professed gender

   identity at that particular time. Id. at 33,816. Indeed, the Biden Administration’s own litigation

   position confirms that Defendants do not believe a recipient can have a categorical ban on biological

   males playing on girls-only athletic teams. See Ex. 5.

          The Rule’s inconsistencies likewise show it is not a product of “reasoned decisionmaking”

   and a “logical and rational” process. Michigan v. EPA, 576 U.S. 743, 750 (2015). For example, the

   Rule states, without explanation, that “sex separation . . . in the context of bathrooms or locker

   rooms . . . is not presumptively unlawful sex discrimination.” Id. at 33,818. But the self-evident

   reason that justifies separating the sexes in those contexts is biological differences that necessitate

   separation to preserve personal privacy, dignity, and safety. Because the Department ignores the
                                                      23
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   biological differences whenever a person claims a gender identity of the opposite sex, the

   Department loses any basis to conclude that sex-specific bathrooms are presumptively

   nondiscriminatory in the first place. And this is far from the only instance where the Rule is

   “internally inconsistent,” and thus “arbitrary and capricious.” Nat’l Parks Conservation Ass’n v. EPA,

   788 F.3d 1134, 1141 (9th Cir. 2015), compare, e.g., 89 Fed. Reg. at 33,819 (explaining “regulations have

   always recognized that recipients can separate students on the basis of sex in contexts where

   separation is generally not harmful”), with id. at 33,815 (noting “there are injuries, including stigmatic

   injuries, associated with treating individuals differently on the basis of sex”).

          To take another example, the Rule states that “a recipient must not provide sex-separate

   facilities or activities in a manner that subjects any person to legally cognizable injury—i.e., more

   than de minimis harm—unless there is a statutory basis for allowing otherwise.” Id. at 33,814

   (emphasis added). But the Rule then turns around and says that a regulatory basis alone is sufficient

   to allow sex-separate athletic teams even when that sex separation allegedly causes more than de

   minimis harm, because the regulations regarding athletics are longstanding. See id. at 33,816–17

   (citing 34 C.F.R. § 106.41(b)–(c)). (Of course, the Rule fails to mention that the sex-specific

   bathroom and locker room regulation that it overhauls is equally longstanding, 40 Fed. Reg. at

   24,141, or that the Department believes those longstanding regulations do not actually authorize

   recipients to exclude all males from girls-only teams based on its new interpretation of Title IX that

   is reflected in the Rule, Ex. 5.). As yet another example of inconsistency, the Rule states recipients

   are not required to “provide gender-neutral or single-occupancy facilities,” but that cannot be right

   if, as the Rule states, (1) students must generally be treated consistently with their gender identity,

   including bathroom access, and (2) some students do not identify as male or female. Id. at 33,818,

   33,820, 33,887. That means, at the very least, recipients must provide gender-neutral bathrooms and

   may be required to provide a different restroom for every claimed gender identity or expressly
                                                       24
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   designate all bathrooms as being for all genders. See Exs. 6–7 (listing various types of nonbinary

   gender identities).

           These flaws highlight additional problems with the Rule: It misstates its effects and its costs,

   rendering its cost-benefit analysis wholly deficient. For example, the Department refused to

   acknowledge the Rule will require recipients to incur significant costs to construct new bathroom

   and locker room facilities or to modify existing ones. See 89 Fed. Reg. at 33,876. It likewise

   underestimated the time and costs it will take to review and understand such a lengthy and

   contradictory Rule, to revise policies, and to train employees. Compare id. at 33,867–68, with Ex. 18

   at 6, and Ex. 20 at 6, and Ex. 22 at 6–7. And separate from the Rule’s faulty monetary cost estimates,

   it improperly weighs “the non-monetary benefits” and costs because it fails to properly account for

   the harms to privacy interests, the increased risks of sexual assault, the loss of opportunities for

   women athletes, and the constitutional harms (infringement of Free Speech rights, Free Exercise

   rights, parental rights, and Due Process rights). Id. at 33,877; see, e.g., Ex. 26 at 6–13; Exs. 27–30.

   Plaintiffs are therefore likely to succeed on the merits of several claims.

   II.     Plaintiffs Will Suffer Irreparable Harm Without Relief.

           Not only is the Rule unlawful across the Board, but it has also caused—and will continue to

   cause—Plaintiffs to suffer irreparable harm absent preliminary relief. See Texas, 829 F.3d at 433–34;

   Am. Compl. at 31–42. Under well-established precedent, “the nonrecoverable costs of complying with

   a putatively invalid regulation typically constitute irreparable harm.” Rest. Law Ctr. v. U.S. Dep’t of Labor,

   66 F.4th 593, 597 (5th Cir. 2023). That is because the “key inquiry” is not the magnitude of the costs,

   but whether they “cannot be recovered in the ordinary course of litigation,” id., and “federal agencies

   generally enjoy sovereign immunity for any monetary damages,” Wages & White Lion, 16 F.4th at 1142.

           Plaintiffs have incurred and will continue to incur unrecoverable compliance costs absent

   preliminary relief. That is because all Plaintiffs are recipients of federal funds subject to Title IX

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   regulations, which means they have increased regulatory burdens and compliance costs under the Rule.

   See, e.g., 89 Fed. Reg. 33,490, 33,541; Exs. 12–13. Indeed, the Rule acknowledges that it will impose

   immediate costs on recipients, including time and resources to review and understand the Rule, revise

   policies, and train employees on the changes before the August 1, 2024 effective date. See 89 Fed. Reg.

   at 33,548–49, 33,866–87. This acknowledgement is correct as detailed in the attached declarations. See

   Exs. 14–23; Ex. 31–33. Although some of these costs have already been incurred, the bulk of these

   upfront costs will be incurred in late June and July absent preliminary relief. See Ex. 14 at 6; Ex. 15 at

   6; Ex. 16 at 6; Ex. 17 at 6; Ex. 18 at 6; Ex. 19 at 6; Ex. 20 at 6; Ex. 21 at 6; Ex. 22 at 7; Ex. 23 at 6.

   Plaintiff School Boards must also secure funding and begin the onerous process of designing,

   modifying, and constructing bathrooms and locker rooms to comply with the Rule and lessen its

   harmful effects on privacy and safety, which will cost millions and cannot possibly be completed by

   the Rule’s effective date. See supra n.15. These types of harms—“increased costs of compliance,

   necessary alterations in operating procedures,” etc.—are exactly the sort of irreparable harm that

   warrant preliminary relief. Career Colleges & Sch. of Tex. v. U.S. Dep’t of Educ., 98 F.4th 220, 235 (5th Cir.

   2024); see, e.g., BST Holdings L.L.C. v. OSHA, 17 F.4th 604, 618 (5th Cir. 2021).

           Furthermore, the Rule conflicts with Plaintiff States’ duly enacted laws (and soon-to-be

   enacted laws) designed to safeguard female sports, safety, privacy, and parental rights. See, e.g., La. Rev.

   Stat. §§ 4:442, 4:444; Miss. Code Ann. §§ 37-97-1, 37-97-3, Mont. Ann. §§ 1-1-201, 20-7-1306, 40-6-

   704, Idaho Code §§ 73-114(2), 33-6201–6203, 33-6701–6707; S.B. 2753, 2024 Leg. Reg. Sess. (Miss.

   2024); see also H.B. 610, 2024 Leg. Reg. Sess. (La. 2024); H.B. 121, 2024 Leg. Reg. Sess. (La. 2024); 89

   Fed. Reg. at 33,885. 16 This interference with Plaintiff States’ sovereign authority to enforce its laws



   16
     See also Ex. 14 at 3; Ex. 15 at 3; Ex. 16 at 2–3; Ex. 17 at 3–4; Ex. 18 at 3; Ex. 19 at 3; Ex. 20 at 3; Ex.
   21 at 3; Ex. 22 at 3–4; Ex. 23 at 3 (showing Plaintiff School Boards have sex-specific teams, which
   they believe increases opportunities for girls).
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   “clearly inflicts irreparable harm.” Abbott v. Perez, 585 U.S. 579, 602 n.17 (2018); see BST Holdings, 17

   F.4th at 618 (recognizing States are harmed by “federal overreach” that interferes with “their

   constitutionally reserved police power over public health policy”); Tennessee v. Dep’t of Educ., 615 F.

   Supp. 3d 807, 841 (E.D. Tenn. 2022) (“Plaintiffs suffered an immediate injury to their sovereign

   interests when Defendants issued the challenged guidance, as Defendants’ guidance and several of

   Plaintiffs’ statutes conflict.”).

           Relatedly, Plaintiff States are facing the irreparable harm of “substantial pressure to change

   their state laws,” Tennessee, 615 F. Supp. 3d at 841; Ex. 31, and Plaintiff School Boards are similarly

   being pressured into revising policies and practices that they believe are in the best interests of their

   students, schools, and communities, e.g., Ex. 20 at 6. The Rule forces Plaintiffs into making a lose-lose

   choice: (1) lose a significant amount of federal funding or (2) comply with the Rule by revising state

   laws, policies, and practices and by violating the constitutional rights of students, parents, and

   employees. Because these intangible harms—“invasions of state sovereignty and coerced

   compliance”—likely cannot be quantified or “monetarily redressed,” they too constitute irreparable

   harm that merits preliminary relief. Kentucky v. Biden, 23 F.4th 585, 611 n.19 (6th Cir. 2022); see Sambrano

   v. United Airlines, Inc., No. 21-11159, 2022 WL 486610, at *7, *9 (5th Cir. Feb. 17, 2022) (per curiam)

   (recognizing a “coercive choice” can “impose[ ] a distinct and irreparable harm” beyond “other

   tangible and remediable losses”); Texas v. Yellen, No. 2:21-CV-079-Z, 2022 WL 989733, at *5 (N.D.

   Tex. Mar. 4, 2022) (concluding plaintiffs were injured “by being put in the position of having to choose

   between being injured by the loss of a substantial amount of federal funds or the invasion of their

   constitutional authority to tax”).

           If preliminary relief is not granted and the Rule goes into effect, Plaintiffs will suffer additional

   irreparable harm, including increased recordkeeping obligations, complaints, administrative

   investigations, and private litigation, not to mention decreased enrollment of students and loss of
                                                       27
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   teachers. See, e.g., 89 Fed. Reg. at 89 Fed. Reg. at 33,858, 33,868–73; Exs. 14–23. 17 Plaintiffs therefore

   are currently suffering and will continue to suffer irreparable harm, making it both proper and

   necessary for this Court to grant preliminary relief.

   III.    Preliminary Relief Would Not Harm Defendants or Disserve the Public Interest.

           Plaintiffs likewise satisfy the third and fourth preliminary-relief factors because postponing or

   staying the Rule, or alternatively enjoining its enforcement, is in the public interest and would not

   harm Defendants. See Texas, 829 F.3d at 424. As a threshold matter, Defendants will not be harmed

   by the requested preliminary relief that will simply “maintain[ ] the status quo while the court considers

   the issue.” Texas v. United States, 787 F.3d 733, 768 (5th Cir. 2015). Nor can Defendants plausibly argue

   otherwise when they delayed the issuance of the Rule multiple times. See Ex. 25.

           In any event, “any interest” Defendants “may claim in enforcing an unlawful” and

   unconstitutional Rule “is illegitimate.” BST Holdings, 17 F.4th at 618. That is because “[t]here is

   generally no public interest in the perpetuation of unlawful agency action.” Louisiana v. Biden, 55 F.4th

   1017, 1035 (5th Cir. 2022). And the inverse is true: the public interest is served by forcing Defendants

   to comply with statutory and constitutional limits on their authority. See BST Holdings, 17 F.4th at 618

   (“The public interest is also served by maintaining our constitutional structure.”); Texas v. Biden, 10

   F.4th 538, 559 (5th Cir. 2021): (“[T]he ‘public interest [is] in having governmental agencies abide by

   the federal laws that govern their existence and operations.’ ”).

           Moreover, granting preliminary relief furthers the public’s interest in the enforcement of duly



   17
     See also Ex. 17 at 7, 9 (explaining that 35 teachers are considering resigning due to the Rule and
   several families have expressed a “desire to use homeschooling or private school for their students if
   the district implements the Rule”); Ex. 18 at 7, 9 (similar); Ex. 21 at 7, 9 (noting that some teachers
   expressed concerns that using biologically inaccurate pronouns or neopronouns would create “chaos”
   or create “a moral dilemma” and that parents were expressing concerns about the Rule); Ex. 22 at 7,
   9–10 (describing Facebook conversations on parents’ pages indicating parents intend to fight the Rule
   or homeschool their children).
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   enacted state laws, academic freedom, and in preventing the violation of constitutional rights of

   students, parents, and teachers. See, e.g., Keyishian v. Bd. of Regents of Univ. of State of N. Y., 385 U.S. 589,

   603 (1967) (“The classroom is peculiarly the ‘marketplace of ideas.’ The Nation’s future depends upon

   leaders trained through wide exposure to that robust exchange of ideas which discovers truth ‘out of

   a multitude of tongues, [rather] than through any kind of authoritative selection.’ ”); Elrod v. Burns, 427

   U.S. 347, 373 (1976) (“The loss of First Amendment freedoms, for even minimal periods of time,

   unquestionably constitutes irreparable injury.”); supra p. 25; Exs. 34–35 (illustrating public support).

   Preliminary relief is also in the best interest of children struggling with gender identity, especially given

   evidence that social transitioning can be harmful to a child’s mental health and is a pathway to

   dangerous medical procedures that a growing number of experts now publicly acknowledge “will not

   be the best way to manage their gender-related distress.” Ex. 8; see, e.g., Exs. 36–40. And preliminary

   relief is in the best interest of families who do not want their children to share bathrooms and disrobe

   in locker rooms with the opposite sex and are scrambling to try to find alternative options to public

   schools. See supra p.28 & n.17.

   IV.     The Court Should Postpone the Rule’s Effective Date or Stay the Rule under 5 U.S.C.
           § 705 or, Alternatively, Issue a Preliminary Injunction.

           The Court should postpone the Rule’s effective date (or stay the Rule) until resolution of this

   case on the merits under 5 U.S.C. § 705. Section 705 specifically authorizes courts to “issue all

   necessary and appropriate process to postpone the effective date of an agency action or to preserve

   status or rights pending conclusion of the review proceedings.” 5 U.S.C. § 705. A postponement or

   stay operates on the Rule itself, which “differs from a preliminary injunction, which merely thwarts

   the enforcement . . . but does not suspend . . . or delay its effective start date.” Jonathan F. Mitchell,

   The Writ-of-Erasure Fallacy, 104 Va. L. Rev. 933, 951 (2018) (emphasis omitted); see Ronald M. Levin,

   Federal Courts, Practice & Procedure: History of the Administrative Procedure Act & Judicial Review: Vacatur,


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   Nationwide Injunctions, and the Evolving APA, 98 Notre Dame L. Rev. 1997, 2009 (2023) (“A stay of a

   rule necessarily applies to the rule as a whole, not merely to named parties.”); cf. Nken, 556 U.S. at 428

   (“[I]nstead of directing the conduct of a particular actor, a stay operates upon the judicial proceeding

   itself.”).

            Accordingly, a postponement or stay is necessary to mitigate irreparable harm here. That is

   because, unlike an injunction, a postponement or stay “under section 705 will immunize those who

   violate the challenged agency action from subsequent penalties—even if the courts wind up approving

   the agency’s action in the end—because the agency action is formally suspended by the court’s

   preliminary relief.” Mitchell, 104 Va. L. Rev. at 1016 (emphasis omitted). Without a postponement or

   stay, Plaintiffs could face private lawsuits alleging violations of Title IX and regulations while this

   litigation is pending and could face enforcement actions at the end of these proceedings if they are

   ultimately unsuccessful on the merits. In the alternative, the Court should grant a preliminary

   injunction under Federal Rule of Civil Procedure 65 and enjoin Defendants from enforcing the Rule

   (or Title IX in accordance with Defendants’ flawed statutory interpretation that is reflected in the

   Rule) pending resolution of this case on the merits.

                                              CONCLUSION

            For the foregoing reasons, this Court should postpone the Rule’s effective date and stay the

   Rule under 5 U.S.C. § 705 pending the resolution of this case on the merits, or in the alternative, enjoin

   Defendants from enforcing the Rule. The Court should grant that relief as soon as possible and no

   later than June 21, 2024, before Plaintiffs incur even more unrecoverable compliance costs.




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   Dated: May 13, 2024                            Respectfully Submitted,

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